                    Case: 1:19-cv-03940 Document #: 47 Filed: 07/16/21
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  M# ffinnmlfi                                                                      Marlon Bracken <marlonbracken@gmail.com>



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  1 message                                          c.          Qgl- q)2- {t{2
  Marlon Bracken <marlonbracken@gmail.com>                                                               Wed, Jul 14,2021at12:57 PM
  To: Marlon   B   racken <marlonbracken@gmail.com>

    Honorable Judge Norgle. Case no. 19cv03940

    July 14,2021
       Dear Judge Norgle, I talked briefly with my former attorney Greg Mitchell Friday. Just before talking to me a tragedy
    happened. A man Shomdell Newell who was raised sort of like a Nephew and a very close member of my family was
    Murdered in South Haven Mi, I was pretty distraught during the conversation and not focused. I am not clear on what a
    voluntary dismissal means or what my rights are at this time. Attorney Mitchell sent me an email Sunday, I called him
    Tuesday to clarify what the paper work meant and he told me the Judge already approved it. At this point I don't know
    what mi rights are or what legal options I have at this time. I can't come in on Friday the 16th at the hearing because I
    have to attend a funeral. Please let me know if I can maybe zoom or something. I just want clear understanding of what's
    going on. Sincerely Marlon E Bracken




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